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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:18-10101-STA
                                    )
ROBERT THOMAS,                     )
                                   )
            Defendant.             )
__________________________________________________________________________________

                       AMENDED ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
                     (AMENDED TO CORRECT JUDGE’S INITIALS)
__________________________________________________________________________________



       This cause came to be heard on April 22, 2019, Assistant United States Attorney, Jerry Kitchen,
appearing for the Government and the defendant, Robert Thomas, appearing in person, and with counsel,
Steve West.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Superseding Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, JULY 23, 2019 at 2:00 P.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 1st day of May, 2019.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
